                        CR 18-00258-EJD
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      United States District Court
                         FOR THE
              NORTHERN DISTRICT OF CALIFORNIA

                   VENUE: SAN JOSE


                        UNITED STATES OF AMERICA,
                                        V.

                        ELIZABETH A. HOLMES and
                        RAMESH "SUNNY" BALWANI,




                             DEFENDANT(S).


  SECOND SUPERSEDING INDICTMENT


                          18 U.S.C. § 1349 – Conspiracy;
                         18 U.S.C. § 1343 – Wire Fraud;
           18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) – Forfeiture




         A true bill.
              V)RUHSHUVRQRIWKH*UDQG-XU\
                                                            Foreman

         Filed in open court this __ 14th ____ day of

         ____July _________________________.
                  

          ____________________________________________
                                                          Clerk
          ____________________________________________
               Magistrate Judge Sallie Kim
                                                   1R3URFHVV
                                         Bail, $ _____________
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 1 ADAM A. REEVES
   Attorney for the United States,
 2 Acting Under Authority Conferred By 28 U.S.C. § 515

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                            SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,                       )   Case No. CR 18-258 EJD
                                                     )
13         Plaintiff,                                )   VIOLATIONS:
                                                     )
14          v.                                       )   18 U.S.C. § 1349 – Conspiracy; 18 U.S.C. § 1343 –
                                                     )   Wire Fraud; 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.
15   ELIZABETH A. HOLMES and                         )   § 2461(c) – Forfeiture
     RAMESH “SUNNY” BALWANI,                         )
16                                                   )   SAN JOSE VENUE
           Defendants.                               )
17                                                   )

18

19                        SECOND SUPERSEDING INDICTMENT
20 The Grand Jury charges that, at all relevant times:

21                                           Introductory Allegations
22          1.      The defendant Elizabeth A. Holmes (“HOLMES”) resided in Los Altos Hills, California,
23 and owned and operated a health care and life sciences company called Theranos, Inc. (“Theranos” or

24 “Company”). HOLMES founded Theranos in 2003, and served in the role of Chief Executive Officer

25 from 2003 through 2018.

26          2.      The defendant Ramesh “Sunny” Balwani (“BALWANI”) resided in Atherton, California,
27 and was employed by Theranos from September 2009 through 2016. BALWANI served in various roles

28 at Theranos: as a member of its Board of Directors, as its President, and as its Chief Operating Officer.


     SECOND SUPERSEDING INDICTMENT
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 1          3.      Theranos was a corporation organized under the laws of the State of Delaware with its

 2 principal place of business in Palo Alto, California. Theranos opened and maintained a corporate bank

 3 account in Palo Alto, California at Comerica Bank. Comerica Bank is headquartered in Dallas, Texas.

 4 When Theranos solicited and received financial investments from investors, the money was deposited

 5 into its Comerica Bank account. Theranos’s investors included individuals, entities, certain business

 6 partners, members of its board of directors, and individuals and entities who invested through firms

 7 formed for the exclusive or primary purpose of investing in Theranos’s securities.

 8                                          The Business of Theranos

 9          4.      Theranos was a private health care and life sciences company. Its stated mission was to

10 revolutionize medical laboratory testing through allegedly innovative methods for drawing blood, testing

11 blood, and interpreting the resulting patient data—all for the purpose of improving outcomes and

12 lowering health care costs.

13          5.      During its first ten years, from approximately 2003 to approximately 2013, Theranos

14 operated in what HOLMES called “stealth mode,” with little public attention. While operating in

15 “stealth mode,” Theranos pursued the development of proprietary technology that could run clinical tests

16 using only tiny drops of blood instead of the vials of blood typically drawn from an arm vein for

17 traditional analysis. Theranos also worked to develop a method for drawing only a few drops of

18 capillary blood from a patient’s finger using a small lancet, and collecting and storing that blood in a

19 proprietary device called the “nanotainer.” Theranos’s stated goal was to produce a second proprietary

20 device that could quickly and accurately analyze blood samples collected in nanotainers. Theranos

21 referred to these devices using several terms, including “TSPU” (or “Theranos Sample Processing

22 Unit”), “Edison,” and “miniLab.”

23          6.      In or around 2013, Theranos began to publicize its technological advances. According to

24 Theranos, its proprietary methods and technologies carried several advantages over conventional blood

25 testing. For example, Theranos claimed that its laboratory infrastructure yielded test results in less time

26 than conventional labs—requiring hours instead of days. Theranos claimed that its proprietary

27 technology and methods would minimize the risk of human error and generate results with the highest

28 accuracy. According to Theranos, the small blood sample size required for Theranos’s proprietary tests,


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 1 and its method of collecting blood by finger stick, would also benefit elderly individuals with collapsed

 2 veins, individuals who required frequent blood tests due to chronic health conditions, and any individual

 3 who feared needles. In addition, Theranos claimed that its blood tests provided substantial cost savings,

 4 advertising that it billed all of the tests on the Medicare Clinical Laboratory Fee Schedule at rates 50%

 5 or more below the published reimbursement rate.

 6          7.      Prior to its commercial launch, HOLMES heavily promoted Theranos’s supposed

 7 technological and operational capabilities. In a September 2013 press release, Theranos claimed that it

 8 had “eliminat[ed] the need for larger needles and numerous vials of blood” by relying instead on

 9 samples “taken from a tiny finger stick or a micro sample taken from traditional methods.” In another
10 press release, dated November 13, 2013, Theranos touted its use of “blood sample[s] as small as a few

11 drops—1/1000th the size of a typical blood draw.” In that same statement, the Company again declared

12 that it had “eliminate[ed] the need for large needles and numerous vials of blood typically required for

13 diagnostic lab testing.”

14          8.      In addition to directing the actions of the Company, HOLMES also made statements to

15 the media advertising the capabilities of Theranos’s technology. In an interview for a Wall Street

16 Journal article published on September 9, 2013, HOLMES said that Theranos could “run any

17 combination of tests, including sets of follow-on tests” at once, very quickly, all from a single small

18 blood sample.

19          9.      Theranos also used its website to increase awareness of its technology. On its website,

20 Theranos displayed a nanotainer of blood balanced on a fingertip along with the slogan, “one tiny drop

21 changes everything.” The website also assured visitors that “for the first time,” Theranos’s laboratory

22 could perform tests “quickly and accurately on samples as small as a single drop.”

23                                    Theranos’s Partnership with Walgreens

24          10.     As part of its commercial launch, as early as 2010, Theranos pursued a partnership with

25 national pharmacy chain Walgreens. On September 9, 2013, Theranos announced that it would be

26 rolling out Theranos “Wellness Centers” inside Walgreens retail locations. In a press release on that

27 date, Theranos promoted its testing services by stating that “consumers can now complete any clinician-

28 directed lab test with as little as a few drops of blood and results available in a matter of hours.”


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 1 Theranos offered tests to the public beginning in late 2013 through its Wellness Centers located in

 2 Walgreens stores in Palo Alto, California as well as in Phoenix, Arizona and surrounding areas.

 3                                      The Scheme to Defraud Investors

 4          11.    From a time unknown but no later than 2010 through 2015, HOLMES and BALWANI,

 5 and others known and unknown to the Grand Jury, through their company, Theranos, engaged in a

 6 scheme, plan, and artifice to defraud investors as to a material matter, and to obtain money and property

 7 by means of materially false and fraudulent pretenses, representations, and promises, by making

 8 materially false and misleading statements, and failing to disclose material facts with a duty to disclose.

 9          12.    Beginning in approximately 2010, HOLMES and BALWANI made materially false and

10 misleading statements to investors and failed to disclose material facts, using, among other things: (1)

11 false and misleading written and verbal communications; (2) marketing materials containing false and

12 misleading statements; (3) false and misleading financial statements, models, and other information; and

13 (4) false and misleading statements to the media. HOLMES and BALWANI:

14                 (A) represented to investors that, at the time the statement was made, Theranos’s

15          proprietary analyzer—the TSPU, Edison, or miniLab—was presently capable of accomplishing

16          certain tasks, such as performing the full range of clinical tests using small blood samples drawn

17          from a finger stick and producing results that were more accurate and reliable than those yielded

18          by conventional methods—all at a faster speed than previously possible; when, in truth,

19          HOLMES and BALWANI knew that Theranos’s proprietary analyzer had accuracy and

20          reliability problems, performed a limited number of tests, was slower than some competing

21          devices, and could not compete with larger, conventional machines in high-throughput, or the

22          simultaneous testing of blood from many patients, applications;

23                 (B) represented to investors that Theranos was presently a financially strong and stable

24          company, including that Theranos would generate over $100 million in revenues and break even

25          in 2014, and that Theranos expected to generate approximately $1 billion in revenues in 2015;

26          when, in truth, HOLMES and BALWANI knew that Theranos had and would generate only

27          modest revenues, roughly a few hundred thousand dollars or so, in 2014 and 2015;

28


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 1              (C) deceived investors through misleading technology demonstrations intended to cause

 2       potential investors to believe that blood tests were being conducted on Theranos’s proprietary

 3       analyzer; when, in truth, HOLMES and BALWANI knew that Theranos’s proprietary analyzer

 4       was running a “null protocol” during the demonstration to make the analyzer appear to be

 5       operating, but was not testing the potential investor’s blood, and yet failed to disclose that fact;

 6              (D) represented to investors that Theranos presently had an expanding partnership with

 7       Walgreens, that is, Theranos would soon dramatically increase the number of Wellness Centers

 8       within Walgreens stores; when, in truth, HOLMES and BALWANI knew, by late 2014, that

 9       Theranos’s retail Walgreens rollout had stalled because of several issues, including that

10       Walgreens’s executives had concerns with Theranos’s performance;

11              (E) represented to investors that Theranos presently had a profitable and revenue-

12       generating business relationship with the United States Department of Defense, and that

13       Theranos’s technology had deployed to the battlefield; when, in truth, HOLMES and BALWANI

14       knew that Theranos had limited revenue from military contracts and its technology was not

15       deployed in the battlefield;

16              (F) represented to investors that Theranos did not need the Food and Drug Administration

17       (“FDA”) to approve its proprietary analyzer and tests, but instead that Theranos was applying for

18       FDA approval voluntarily because it was the “gold standard”; when, in truth, HOLMES and

19       BALWANI knew that by late 2013 and throughout 2014, the FDA was requiring Theranos to

20       apply for clearance or approval for its analyzer and tests;

21              (G) represented to investors that Theranos conducted its patients’ tests using Theranos-

22       manufactured analyzers; when, in truth, HOLMES and BALWANI knew that Theranos

23       purchased and used for patient testing third party, commercially-available analyzers;

24              (H) represented to investors that Theranos’s technology had been examined, used, and

25       validated by several national or multinational pharmaceutical companies and research

26       institutions; when, in truth, HOLMES and BALWANI knew that these pharmaceutical

27       companies and research institutions had not examined, used, or validated Theranos’s technology;

28       and


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 1                  (I) represented to members of the media for publication many of the false and misleading

 2          statements described above within paragraph 12(A) – 12(H), and shared the resulting articles

 3          with potential investors both directly and via the Theranos website, knowing their statements to

 4          members of the media were false and misleading.

 5          13.     After receiving false and misleading statements, misrepresentations, and omissions from

 6 HOLMES and BALWANI, persons known to the Grand Jury as Investors 1, 2, 3, 4, 5, and 6 initiated

 7 electronic wire transfers for the purpose of investing money in Theranos. These wires, specifically

 8 alleged in paragraph 24 of this Second Superseding Indictment, used a domestic electronic funds

 9 transfer system known as the Fedwire system, which is owned and operated by the United States Federal
10 Reserve System. All Fedwire wire transfers alleged in this Second Superseding Indictment were

11 electronically routed through Fedwire centers in East Rutherford, New Jersey, Dallas, Texas, or outside

12 California and into Theranos’s bank account in the Northern District of California. All of the wire

13 transfers alleged in this Second Superseding Indictment travelled between one state and another state.

14                                       The Scheme to Defraud Patients

15          14.     Between approximately 2013 and 2016, HOLMES and BALWANI, through

16 advertisements and solicitations, encouraged and induced doctors and patients to use Theranos’s blood

17 testing laboratory services.

18          15.     HOLMES and BALWANI devised a scheme to defraud patients, through advertisements

19 and marketing materials, through explicit and implicit claims concerning Theranos’s ability to provide

20 accurate, fast, reliable, and cheap blood tests and test results, and through omissions concerning the

21 limits of and problems with Theranos’s technologies. Based on these representations, many hundreds of

22 patients paid Theranos, or Walgreens acting on behalf of Theranos, for blood tests and test results,

23 sometimes following referrals from their defrauded doctors.

24          16.     Despite representing to doctors and patients that Theranos could provide accurate, fast,

25 reliable, and cheap blood tests and test results, HOLMES and BALWANI knew—through, among other

26 means, their involvement in Theranos’s day-to-day operations and their knowledge of complaints

27 received from doctors and patients—that Theranos’s technology was, in fact, not capable of consistently

28 producing accurate and reliable results. In particular, HOLMES and BALWANI knew that Theranos


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 1 was not capable of consistently producing accurate and reliable results for certain blood tests, including

 2 but not limited to bicarbonate, calcium, chloride, cholesterol/HDL/LDL, gonorrhea, glucose, HbA1c,

 3 hCG, HIV, LDH, potassium, PSA, PT/INR, sodium, testosterone, TSH, vitamin D (25-OH), and all

 4 assays conducted on Theranos’s TSPU version 3.5, including estradiol, prolactin, SHBG, thyroxine

 5 (T4/free T4), triiodothyronine, and vitamin B-12.

 6          17.    Despite their knowledge of Theranos’s accuracy and reliability problems, HOLMES and

 7 BALWANI used interstate electronic wires to purchase advertisements intended to induce individuals to

 8 purchase Theranos blood tests at Walgreens stores in California and Arizona. Through these

 9 advertisements, HOLMES and BALWANI explicitly represented to individuals that Theranos’s blood
10 tests were cheaper than blood tests from conventional laboratories to induce individuals to purchase

11 Theranos’s blood tests. HOLMES and BALWANI held Theranos’s blood tests out to individuals as

12 accurate and reliable. HOLMES and BALWANI:

13          (A)    transmitted, caused to be transmitted, or otherwise delivered to doctors and patients,

14          including in the form of marketing materials and advertisements, materially false and misleading

15          information concerning the accuracy and reliability of Theranos’s blood testing services;

16          (B)    posted on the Theranos website, or otherwise represented to a broad audience including

17          doctors and patients, materially false and misleading information concerning the accuracy and

18          reliability of Theranos’s blood testing services;

19          (C)    transmitted, caused to be transmitted, or otherwise delivered to doctors and patients

20          Theranos blood test results where HOLMES and BALWANI knew that the tests performed on

21          Theranos technology contained or were likely to contain:

22                         (1)     inaccurate and unreliable results;

23                         (2)     improperly adjusted reference ranges;

24                         (3)     improperly removed “critical” results; and

25                         (4)     results generated from improperly validated assays.

26          18.    Knowing that the accuracy and reliability of Theranos test results was questionable and

27 suspect, HOLMES and BALWANI oversaw the electronic wiring of test results to patients, including

28 persons known to the Grand Jury as Patients B.B and E.T. in paragraph 26 of this Second Superseding


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 1 Indictment. These wires, specifically, the wires alleged in paragraph 26 of this Second Superseding

 2 Indictment, travelled between one state and another.

 3 COUNT ONE: 18 U.S.C. § 1349 (Conspiracy to Commit Wire Fraud against Theranos Investors)

 4            19.    Paragraphs 1 through 18 are realleged and incorporated as if fully set forth herein.

 5            20.    From a time unknown but no later than approximately 2010 through approximately 2015,

 6 within the Northern District of California, and elsewhere, the defendants,

 7                                        ELIZABETH A. HOLMES and
                                         RAMESH “SUNNY” BALWANI,
 8

 9 and others known and unknown to the Grand Jury, did knowingly and intentionally conspire and agree
10 together and with each other to commit wire fraud, in violation of Title 18, United States Code, Section

11 1343, by devising a scheme and artifice to defraud as to a material matter and to obtain money by means

12 of materially false and fraudulent representations, specifically by soliciting investments through making

13 the false and fraudulent representations as set forth in this Second Superseding Indictment.

14            All in violation of Title 18, United States Code, Section 1349.

15 COUNT TWO: 18 U.S.C. § 1349 (Conspiracy to Commit Wire Fraud against Theranos Patients)

16            21.    Paragraphs 1 through 18 are realleged and incorporated as if fully set forth herein.

17            22.    From in or about 2013 through 2016, within the Northern District of California, and

18 elsewhere, the defendants,

19                                        ELIZABETH A. HOLMES and
                                         RAMESH “SUNNY” BALWANI,
20

21 and others known and unknown to the Grand Jury, did knowingly and intentionally conspire and agree

22 together and with each other to commit wire fraud, in violation of Title 18, United States Code, Section

23 1343, by devising a scheme and artifice to defraud as to a material matter and to obtain money by means

24 of materially false and fraudulent representations, specifically by soliciting, encouraging, or otherwise

25 inducing doctors to refer and patients to pay for and use its laboratory and blood testing services under

26 the false and fraudulent pretense that Theranos technology produced reliable and accurate blood test

27 results.

28            All in violation of Title 18, United States Code, Section 1349.


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 1 COUNTS THREE THROUGH EIGHT: 18 U.S.C. § 1343 (Wire Fraud)

 2          23.    Paragraphs 1 through 22 are realleged and incorporated as if fully set forth herein.

 3          24.    On or about the dates set forth below, within the Northern District of California, and

 4 elsewhere, the defendants,

 5                                      ELIZABETH A. HOLMES and
                                       RAMESH “SUNNY” BALWANI,
 6

 7 for the purpose of executing the material scheme and artifice to defraud investors, and for obtaining

 8 money and property from investors by means of materially false and fraudulent pretenses,

 9 representations, promises, and material omissions with a duty to disclose, did knowingly transmit and
10 cause to be transmitted by means of wire communication in interstate commerce certain writings, signs,

11 signals, and pictures, that is, electronic funds transfers and payments from investor bank accounts to

12 Theranos, as further set forth below:

13

14    COUNT           DATE                 ITEM WIRED                 WIRED FROM              WIRED TO

15    3           12/30/2013        $99,990                          Investor #1’s        Theranos’s
                                                                     Charles              Comerica Bank
16
                                                                     Schwab/Wells         account
17                                                                   Fargo Bank
                                                                     account
18    4           12/31/2013        $5,349,900                       Investor #6’s        Theranos’s
                                                                     Pacific Western      Comerica Bank
19                                                                   Bank account         account
20    5           12/31/2013        $4,875,000                       Investor #2’s        Theranos’s
                                                                     Texas Capital        Comerica Bank
21                                                                   Bank account         account
      6           2/6/2014          $38,336,632                      Investor #3’s        Theranos’s
22                                                                   Citibank account     Comerica Bank
                                                                                          account
23
      7           10/31/2014        $99,999,984                      Investor #4’s        Theranos’s
24                                                                   Northern Chicago     Comerica Bank
                                                                     Bank account         account
25    8           10/31/2014        $5,999,997                       Investor #5’s JP     Theranos’s
                                                                     Morgan Chase         Comerica Bank
26                                                                   account              account
27
            Each in violation of Title 18, United States Code, Section 1343.
28


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 1 COUNTS NINE THROUGH ELEVEN: 18 U.S.C. § 1343 (Wire Fraud)

 2          25.     Paragraphs 1 through 24 are realleged and incorporated as if fully set forth herein.

 3          26.     On or about the dates set forth below, within the Northern District of California, and

 4 elsewhere, the defendants,

 5                                       ELIZABETH A. HOLMES and
                                        RAMESH “SUNNY” BALWANI,
 6

 7 for the purpose of executing the material scheme and artifice to defraud doctors and patients, and for

 8 obtaining money and property from patients by means of materially false and fraudulent pretenses,

 9 representations, promises, and material omissions with a duty to disclose, did knowingly transmit and
10 cause to be transmitted by means of wire communication in interstate commerce certain writings, signs,

11 signals, and pictures, that is, laboratory and blood test results and payments for the purchase of

12 advertisements soliciting patients and doctors for its laboratory business, as further set forth below, in

13 violation of Title 18, United States Code, Section 1343:

14         COUNT                 DATE             WIRED FROM             WIRED TO            DESCRIPTION
15    9                    10/12/2015            Arizona              California            Telephone call
16                                                                                          from Patient B.B
                                                                                            to Theranos
17                                                                                          regarding
                                                                                            laboratory blood
18                                                                                          test results
      10                   5/11/2015             California           Arizona               Patient E.T.’s
19
                                                                                            laboratory blood
20                                                                                          test results
      11                   8/3/2015              Theranos’s Wells     Horizon Media,        Electronic Funds
21                                               Fargo Bank           Inc.’s J.P. Morgan    Transfer in the
                                                 account in           Chase Bank            amount of
22                                               California           account in New        $1,126,661.00 to
23                                                                    York                  purchase
                                                                                            advertisements for
24                                                                                          Theranos
                                                                                            Wellness Centers
25
            Each in violation of Title 18, United States Code, Section 1343.
26

27

28


     SECOND SUPERSEDING INDICTMENT                         10
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 1 FORFEITURE ALLEGATION:                  18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) (Forfeiture of
                                           Wire Fraud Proceeds)
 2

 3          27.     The allegations of paragraphs 1 through 26 of this Second Superseding Indictment are

 4 realleged and by this reference fully incorporated herein for the purposes of alleging forfeiture pursuant

 5 to the provisions of 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

 6          28.     Upon a conviction for the offense alleged in Counts One through Eleven, the defendants,

 7
                                         ELIZABETH A. HOLMES and
 8                                      RAMESH “SUNNY” BALWANI,

 9 shall forfeit to the United States all property, constituting and derived from proceeds traceable to said
10 offenses, including but not limited to the following property:

11          (a)     a sum of money equal to the amount of proceeds obtained as a result of the offense.

12          If any of said property, as a result of any act or omission of the defendant-

13          (a)     cannot be located upon the exercise of due diligence;

14          (b)     has been transferred or sold to or deposited with, a third person;

15          (c)     has been placed beyond the jurisdiction of the Court;

16          (d)     has been substantially diminished in value; or

17          (e)     has been commingled with other property which cannot be subdivided without difficulty;

18 Any and all interest defendant has in any other property (not to exceed the value of the above forfeitable

19 property), shall be forfeited to the United States pursuant to Title 21, United States Code, Section

20 853(p), as incorporated by Title 18, United States Code, Section 982(b)(1).

21 ///

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     SECOND SUPERSEDING INDICTMENT                        11
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 1         The forfeiture is authorized by Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

 2 United States Code, Section 2461(c); Title 21, United States Code, Section 853(p) as incorporated by

 3 Title 18, United States Code, Section 982(b)(1); and the Federal Rules of Criminal Procedure 32.2.

 4 DATED: July 14, 2020                                 A TRUE BILL

 5
                                                            /s/
                                                        ___________________________
 6                                                      FOREPERSON
 7 ADAM A. REEVES
   Attorney for the United States,
 8 Acting Under Authority Conferred By 28 U.S.C. § 515

 9
   ___________________________
10 JEFFREY SCHENK
   ROBERT S. LEACH
11 JOHN C. BOSTIC
   VANESSA BAEHR-JONES
12 Assistant United States Attorneys

13

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     SECOND SUPERSEDING INDICTMENT                      12
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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                 INFORMATION                  INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                 SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
           OFFENSE CHARGED
                                                                                                                  SAN JOSE DIVISION
 18 U.S.C. § 1349 – Conspiracy;                                         Petty
 18 U.S.C. § 1343 – Wire Fraud;
 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) – Forfeiture          Minor              DEFENDANT - U.S
                                                                        Misde-
                                                                        meanor
                                                                                          Elizabeth Holmes
                                                                        Felony
                                                                                              DISTRICT COURT NUMBER
PENALTY:       All per count:
               20 years imprisonment                                                          CR 18-00258 EJD
               $250,000 fine
               3 years supervised release
               $100 special assessment
                                                                                                                        DEFENDANT
                               PROCEEDING                                                       IS NOT IN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                               1)       If not detained give date any prior
                                 FBI, USPS, FDA
                                                                                                  summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                       2)       Is a Fugitive
       give name of court
                                                                                         3)       Is on Bail or Release from (show District)

                                                                                                                             NDCA
       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                IS IN CUSTODY
                                                                                         4)       On this charge
       this is a reprosecution of
       charges previously dismissed                                                      5)       On another conviction
       which were dismissed on motion
       of:
                                                                   SHOW
                                                                 DOCKET NO.
                                                                                                                                   }         Federal         State

             U.S. ATTORNEY               DEFENSE
                                                          }                              6)       Awaiting trial on other charges
                                                                                                   If answer to (6) is "Yes", show name of institution

       this prosecution relates to a
                                                                                                                  Yes            If "Yes"
       pending case involving this same
       defendant                                                 MAGISTRATE
                                                                                              Has detainer
                                                                                              been filed?         No
                                                                                                                            }    give date
                                                                                                                                 filed
                                                                  CASE NO.
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this
       defendant were recorded under
                                                          }                                   DATE OF
                                                                                              ARREST
                                                                                                                        Month/Day/Year


                                                                                              Or... if Arresting Agency & Warrant were not

Name and Office of Person
Furnishing Information on this form                    ADAM A. REEVES
                                                                                              DATE TRANSFERRED
                                                                                              TO U.S. CUSTODY
                                                                                                                                      Month/Day/Year


                     Acting       U.S. Attorney            Other U.S. Agency

Name of Assistant U.S.                                                                             This report amends AO 257 previously submitted
Attorney (if assigned)                       Robert Leach, AUSA
                                                          ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
             SUMMONS                NO PROCESS*                  WARRANT         Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                   * Where defendant previously apprehended on complaint, no new summons or
                                                                                 warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                 Date/Time:                                 Before Judge:

        Comments:
AO 257 (Rev. 6/78)          Case 5:18-cr-00258-EJD Document 449 Filed 07/14/20 Page 15 of 15

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                 INFORMATION                  INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                 SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
           OFFENSE CHARGED
                                                                                                                  SAN JOSE DIVISION
 18 U.S.C. § 1349 – Conspiracy;                                         Petty
 18 U.S.C. § 1343 – Wire Fraud;
 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) – Forfeiture          Minor              DEFENDANT - U.S
                                                                        Misde-
                                                                        meanor
                                                                                          Ramesh "Sunny" Balwani
                                                                        Felony
                                                                                              DISTRICT COURT NUMBER
PENALTY:       All per count:
               20 years imprisonment                                                          CR 18-00258 EJD
               $250,000 fine
               3 years supervised release
               $100 special assessment
                                                                                                                        DEFENDANT
                               PROCEEDING                                                       IS NOT IN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                               1)       If not detained give date any prior
                                 FBI, USPS, FDA
                                                                                                  summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                       2)       Is a Fugitive
       give name of court
                                                                                         3)       Is on Bail or Release from (show District)

                                                                                                                             NDCA
       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                IS IN CUSTODY
                                                                                         4)       On this charge
       this is a reprosecution of
       charges previously dismissed                                                      5)       On another conviction
       which were dismissed on motion
       of:
                                                                   SHOW
                                                                 DOCKET NO.
                                                                                                                                   }         Federal         State

             U.S. ATTORNEY               DEFENSE
                                                          }                              6)       Awaiting trial on other charges
                                                                                                   If answer to (6) is "Yes", show name of institution

       this prosecution relates to a
                                                                                                                  Yes            If "Yes"
       pending case involving this same
       defendant                                                 MAGISTRATE
                                                                                              Has detainer
                                                                                              been filed?         No
                                                                                                                            }    give date
                                                                                                                                 filed
                                                                  CASE NO.
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this
       defendant were recorded under
                                                          }                                   DATE OF
                                                                                              ARREST
                                                                                                                        Month/Day/Year


                                                                                              Or... if Arresting Agency & Warrant were not

Name and Office of Person
Furnishing Information on this form                    ADAM A. REEVES
                                                                                              DATE TRANSFERRED
                                                                                              TO U.S. CUSTODY
                                                                                                                                      Month/Day/Year


                      Acting      U.S. Attorney            Other U.S. Agency

Name of Assistant U.S.                                                                             This report amends AO 257 previously submitted
Attorney (if assigned)                       Robert Leach, AUSA
                                                          ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
             SUMMONS                NO PROCESS*                  WARRANT         Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                   * Where defendant previously apprehended on complaint, no new summons or
                                                                                 warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                 Date/Time:                                 Before Judge:

        Comments:
